EXHIBIT A
                                                                       Service of Process
                                                                       Transmittal
                                                                       01/20/2017
                                                                       CT Log Number 530539189
TO:     Richard Towle
        Chubb & Son, a Division of Federal Insurance Company
        15 Mountainview Rd, Claim Department, 1N
        Warren, NJ 07059-6795

RE:     Process Served in New York

FOR:    Federal Insurance Company (Domestic State: IN)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                 Coral Realty, LLC, et al., Pltfs. vs. Federal Insurance Company, Dft.
DOCUMENT(S) SERVED:              Letter, Notice, Summons, Verified Complaint, Verification, Exhibit(s)
COURT/AGENCY:                    New York County: Supreme Court, NY
                                 Case # 6501712017
NATURE OF ACTION:                Insurance Litigation - Bond -
                                 Construction/Contractor's/Payment/Performance/Surety/Miller Act
ON WHOM PROCESS WAS SERVED:      C T Corporation System, New York, NY
DATE AND HOUR OF SERVICE:        By Regular Mail on 01/20/2017 postmarked on 01/17/2017
JURISDICTION SERVED :            New York
APPEARANCE OR ANSWER DUE:        Within 20 days after service, exclusive of the day of service
ATTORNEY(S) / SENDER(S):         David B. Karel
                                 Wilkofsky, Friedman, Karel & Cummins
                                 299 Broadway
                                 Suite 1700
                                 New York, NY 10007
                                 212-285-0510
REMARKS:                         Documents were served upon the New York Department of Financial Services on
                                 January 13, 2017 and forwarded to CT Corporation.
ACTION ITEMS:                    SOP Papers with Transmittal, via UPS Next Day Air , 1Z0399EX0102996646

                                 Image SOP

                                 Email Notification, Richard Towle rtowle@chubb.com

SIGNED:                          C T Corporation System
ADDRESS:                         111 Eighth Avenue
                                 13th Floor
                                 New York, NY 10011
TELEPHONE:                       212-590-9070




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                                                                       Information displayed on this transmittal is for CT
                                                                       Corporation's record keeping purposes only and is provided to
                                                                       the recipient for quick reference. This information does not
                                                                       constitute a legal opinion as to the nature of action, the
                                                                       amount of damages, the answer date, or any information
                                                                       contained in the documents themselves. Recipient is
                                                                       responsible for interpreting said documents and for taking
                                                                       appropriate action. Signatures on certified mail receipts
                                                                       confirm receipt of package only, not contents.
